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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                     NORTHERN DIVISION at ASHLAND

Civil Action 06-125-HRW

NATIONAL GENERAL INSURANCE COMPANY
d/b/a GMAC INSURANCE,
                                                                  PLAINTIFF,

v.                 MEMORANDUM OPINION AND ORDER


LINDA FELTY,
WILLIAM FELTY,
ALONZO BURTON,
and
OUR LADY OF BELLEFONTE HOSPITAL,                               DEFENDANTS.


        This matter is before the Court upon Plaintiff National General Insurance

Company’s (hereinafter “NGIC”) Motion for Summary Judgment [Docket No. 25].

Specifically, NGIC contends that it has no contractual obligation to provide

Defendant Linda Felty with a defense or indemnification in the legal action Alonzo

Burton v. Our Lady of Bellefonte Hospital, Inc., v. Linda Felty, et al,

Commonwealth of Kentucky, Greenup Circuit Court, Civil Action No. 02-CI-

0064.

        Defendants failed to respond within the time prescribed by Rule 7.1( c)(1) of

the Joint Local Rules for the Eastern and Western District of Kentucky. Nor did

Defendants request additional time in which to do so.
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      On February 2, 2007, the undersigned entered an Order directing Defendants

to show cause why the Plaintiff’s motion should not be sustained and Plaintiff

granted judgment as a matter of law [Docket No. 26].

      In response to the Show Cause Order, Defendant Our Lady of Bellefonte

Hospital advised the Court that it would not file an opposing memorandum to

Plaintiff’s motion [Docket No. 27].    However, to date, Defendants Linda Felty

and William Felty, the policyholders, have not responded to the motion or the

Court’s Order.

      If for no other reason, it would be entirely proper to grant the Plaintiff’s

dispositive motion based on Defendants’ failure to respond thereto as required by

the Joint Local Rules of the Eastern and Western Districts of Kentucky. The

Court has reviewed the Plaintiff’s motion and the record, nevertheless, and finds

that the Plaintiff’s motion should be sustained on its merits as well.

      This case arises from a slip-and-fall on the premises of Our Lady of

Bellefonte Hospital. On December 31, 2001, Linda Felty drove her father, Alonzo

Burton, to the emergency room at Our Lady of Bellefonte Hospital. There had

been snowfall and, according to Mr. Burton, there was snow on the ground.

[Deposition of Alonzo Burton, pp. 23-24, Exhibit 1 to Docket No. 25]. Upon

arriving at the hospital, Mr. Burton exited his daughter’s car. He testified that he


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was able to stand in an area between the car and an embankment. [Deposition of

Alonzo Burton, pp. 23-24, Exhibit 1 to Docket No. 25]. Mr. Burton stated that,

first, he stood facing the embankment but then turned in order to close the car door.

While closing the door, Mr. Burton fell backwards down the embankment. Mr.

Burton recalled the fall:

             And I was standing there. When I shut that door, my foot
             went right under that car where it had ice in under the car
             there, you know, where - - in that little snow, and I went
             over that hill backwards.


[Deposition of Alonzo Burton, pp. 25-26, Exhibit 1 to Docket No. 25].

      Mrs. Felty corroborated her father’s recollection of the fall; she testified that

he fell in snow which had accumulated along the curb as a result of plowing.

[Deposition of Linda Felty, pp. 13-15, Exhibit 2 to Docket No. 25].

      As a result of the fall, Mr. Burton suffered injuries. He subsequently filed

suit against Our Lady of Bellefonte Hospital in Greenup Circuit Court, alleging

that the hospital maintained its premises in an unsafe and dangerous manner. See

Alonzo Burton v. Our Lady of Bellefonte Hospital, Inc., v. Linda Felty, et al,

Commonwealth of Kentucky, Greenup Circuit Court, Civil Action No. 02-CI-

0064. The hospital filed a Third Party Complaint against several individuals,

including Linda Felty [Exhibit 4 to Docket No. 25]. The hospital alleged that Ms.


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Felty was negligent in “choosing to park her car motor vehicle on a snow-dusted,

sloped driveway in an area that was specifically designated as a no parking zone

and adjacent to an embankment.” [Exhibit 4 to Docket No. 25].

      Ms. Felty sought a defense and indemnification in the state court action from

NGIC, pursuant to a personal automobile insurance policy, Policy No.

1017142A011 [Exhibit 2 to Docket No. 1]. NGIC has provided Ms. Felty with a

defense while proceeding in this Court, seeking a declaratory judgment in this

Court that, pursuant to the terms of the policy, it is not obligated to do so [Docket

No. 1]. NGIC argues that the automobile insurance policy in question does not

cover the damages arising from the incident which forms the basis of the

aforementioned action. Thus, NGIC maintains it is not obligated to provide Ms.

Felty with a defense and, accordingly, it is entitled to judgment as a matter of law.

      Under Rule 56 of the Federal Rules of Civil Procedure the Court must view

the evidence in the light most favorable to the nonmoving party, in this case, the

Defendants . Thus, when examining the record the Court will resolve doubts and

construe inferences in favor of the Defendants in an effort to determine if any

genuine issues of material fact exist. However, in a series of decisions commonly

referred to as the "trilogy", Celotex Corp. v. Catrett, 477 U.S. 317 (1986);

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986); Anderson


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v. Liberty Lobby, Inc., 477 U.S. 242 (1986), the U.S. Supreme Court emphasized

that "[t]he mere existence of a scintilla of evidence in support of the plaintiff's

position will be insufficient; there must be evidence on which the jury could

reasonably find for the plaintiff." Anderson, 477 U.S. at 252. In short, the "trilogy"

requires the nonmoving party to produce specific factual evidence that a genuine

issue of material fact exists.

      An insurer has no duty to defend where it is clear from the complaint that

coverage is unambiguously excluded from the claim at issue. Lenning v.

Commercial Union Insurance Company, 260 F.3d 574, 581 (6th Cir. 2001). Yet,

insurers have an obligation to defend if there is an allegation "which potentially,

possibly or might come within the coverage of the policy." Id., citing , James

Graham Brown Found., Inc. v. St. Paul Fire & Marine Ins. Co., 814 S.W.2d 273,

279, 280 (Ky.1991)(internal citations omitted). The determination of whether a

defense is required must be made at the outset of the litigation" by reference to the

complaint and known facts. Id.

      With regard to the actual policy language, it is axiomatic that words should

be given their plain meaning. Terms of an insurance contract having no technical

meaning in law “must be interpreted according to the usage of the average man and

as they would be read and understood by him in light of the prevailing rule that


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uncertainties and ambiguities must be resolved in favor of the insured.” Fryman v.

Pilot Life Insurance Company, 704 S.W.2d 205, 207 (Ky. 1986).

      The relevant portion of the subject insurance policy provides:

             We will pay for “bodily” injury or “property damage” for
             which any “insured” becomes legally responsible because
             of an auto accident.

[Personal Auto Policy, Exhibit 5 to Docket No. 25].

      NGIC contends that Mr. Burton’s accident was not an “auto accident” as

contemplated by its policy.

      The term “auto accident” is not defined within the policy. As this term has

no technical meaning, following the precedent cited above, the words must be

applied or construed consistent with their ordinary usage. Fryman v. Pilot Life

Insurance Company, 704 S.W.2d at 207.

      It is clear to this Court that the “average person’s” reading of the policy

would negate coverage for the underlying lawsuit as Mr. Burton was not involved

in an auto accident. Indeed, the automobile was not involved in the accident. Mr.

Burton stepped out of the car, placed both feet on the ground, turned to shut the

door, slipped. [Deposition of Alonzo Burton, pp. 34-36, Exhibit 1 to Docket No.

25]. To regard the incident as an auto accident would defy common sense.

      In its motion, Plaintff points to a particularly colorful example of the


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strained interpretation of “auto accident” from the Court of Appeals in Texas.

State Farm Mutual Insurance Company v. Peck, 900 S.W.2d 910 (Tex. App.

1995). In Peck, the plaintiff was bitten by a dog while riding in his car to the

veterinarian’s office and suffered sever lacerations to his face as a result of the dog

bite. Plaintiff sought coverage from his automobile insurance carrier. The Peck

Court observed that the average person would not consider the biting incident in

Peck’s vehicle an “auto accident”. Rather, the average person would simply say

that Peck was bit by a dog while sitting in a car. Id. at 913.

      Similarly, in the instant case, one would be hard pressed to state that Mr.

Burton was in an “auto accident.” Rather, he fell down a hill as a result of slipping

on ice or snow. The automobile in question did not cause or contribute to the fall.

Indeed, Mr. Burton had completely alighted from the vehicle . Falling after one

has exited a parked car does not constitute an “auto accident.” This is a slip-and-

fall case, not an auto accident.

      Based upon the record, the Court finds that there is no claim which

potentially, possibly or might come within the coverage of the policy in question.

As such , NGIC has no duty to defend or indemnify Ms. Felty in the

aforementioned state Court action.

      Accordingly, IT IS HEREBY ORDERED that Plaintiff National General


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Insurance Company’s Motion for Summary Judgment [Docket No. 25] be

SUSTAINED. A judgment in favor of the Plaintiff will be entered

contemporaneously herewith.

      This March 2, 2007.




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